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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 4:09CR066-P-S

TYPHRON ARMSTRONG, STACY BROWN,
EVELYN JACKSON, JAMES HENRY TURNER, III,
SHANISHA WILLIAMS, and KELLY YOUNG                                                    DEFENDANT.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant James Henry Turner’s motion to

continue trial [106]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for November 16, 2009. Defense counsel requests a continuance to

afford more time to engage in plea negotiations.

        The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from November 16, 2009 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(7)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to Defendant Armstrong’s co-defendants pursuant to 18 U.S.C. section

3161(h)(6) because the period of delay is reasonable and no motions for severance have been

granted.

        IT IS THEREFORE ORDERED AND ADJUDGED that:


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       (1) Defendant James Henry Turner’s motion to continue trial [106] is GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, January 11, 2010 at

9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from November 16, 2009 to January 11, 2010 is excluded from Speedy Trial

Act considerations as set out above;

       (4) The deadline for filing pretrial motions is December 21, 2009; and

       (5) The deadline for submitting a plea agreement is December 28, 2009.

       SO ORDERED this the 3rd day of November, A.D., 2009.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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